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                        UNITED STATES BANKRUPTCY COURT
                        EASTERN DISTRICT OF PENNSYLVANIA

IN RE:        OLYMPHIA JOHNSON,                    :       Chapter 13
                                                   :
                             Debtor                :       Bky. No. 17-10123 ELF

                                         ORDER

       AND NOW, upon consideration of the Debtor’s Motion to Reconsider Order Modifying

the Automatic Stay (“the Motion”), and the request for an expedited hearing thereon, and

sufficient cause being shown, it is hereby ORDERED that:

1. The request for an expedited hearing is GRANTED.

2. A hearing to consider the Motion shall be and hereby is scheduled on November       26,

   2019 , at 9:30 a.m., in the United States Bankruptcy Court, 900 Market Street, 2nd

   Floor, Courtroom No. 1, Philadelphia, Pennsylvania, 19107.

3. Any objections or other responses the Motion shall be filed no later than 1:00 p.m. on

   November 25, 2019. Failure to respond to the Motion may result in the grant of the relief

   requested therein.




Date: November 6, 2019
                                      ERIC L. FRANK
                                      U.S. BANKRUPTCY JUDGE
